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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:07CR3107-2
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )          ORDER
MARIA B. DIX,                                  )
                                               )
                     Defendant.                )


       The government has agreed that the defendant’s bond money should be returned to
the party who posted it. I agree that the conditions of release should be so amended.
Accordingly,

       IT IS ORDERED that:

       (1)    The Clerk of the Court shall refund the bond money to the party who deposited
it.

       (2)    The order setting conditions of release is amended to strike the requirement that
the defendant post a percentage of the bond in cash.

       (3)    The defendant’s motion to modify conditions of release (filing 63) is granted.

       March 13, 2008.                     BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
